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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA            :
                                    :
            v.                      :               CRIMINAL NO. 1-22-cr-38 (CKK)
                                    :
JOLENE EICHER                       :
                                    :
____________________________________:


              CONSENT MOTION TO VACATE CURRENT TRIAL DATE


   Jolene Eicher hereby moves this Court to vacate the current scheduled trial date in the above-

   captioned proceeding, such that a new trial date can be selected at the upcoming status date. In

   support of this motion, Ms Eicher states as follows:

   1. Jolene Eicher is before the Court charged by Information with violations of one count each

      of: Entering and Remaining in a Restricted Building, 18 U.S.C. § 1752(a)(1); Disorderly

      and Disruptive Conduct in a Restricted Building, 18 U.S.C. § 1752(a)(2); Violent Entry

      and Disorderly Conduct on a Capitol Building, 40 U.S.C. §5104(e)(2(D); and Parading,

      Demonstrating, or Picketing in a Capitol Building, 40 U.S.C. §5104(e)(2)(G). A trial date

      is set for 5th June 2023. An interim status hearing is currently set for 9th March 2023.

   2. In discussing an appropriate trial date for this matter, the Court had indicated a five-day

      period should be blocked out for this matter. At a status hearing held on 6 January 2023,

      the parties reaffirmed this trial plan. However, in the period since it has become apparent

      that recent jury trials regarding the events of January 6th, 2021, have leaned towards

      extended periods of jury deliberation. Ms Eicher has elected to assert her right to a jury

      trial in this matter. While keeping the week of 5th June free for this trial, counsel had not

      taken into account nor had the parties discussed the possibility of jury deliberations
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                    extending into the following week: a period when counsel will be out of the country. The

                    potential for extended deliberations thus poses the risk of an unavoidable conflict not

                    anticipated.

                 3. Counsel has engaged the assigned Assistant U.S. Attorney here: Mr Christopher Brunwin

                    Esq. Mr Brunwin has no objections to this request. Counsel has discussed the issues with

                    Ms Eicher. Ms Eicher understands this may impact speedy trial concerns. Ms Eicher would

                    toll any time regarding her Speedy Trial rights.

                 4. As the case has a status hearing already scheduled for 9th March 2023, no additional dates

                    need to be added to the calendar and the parties anticipate being able to settle on a new trial

                    date at this hearing. Ms Eicher will be able to make representations regarding Speedy Trial

                    rights at this next court date.



                 WHEREFORE, for the above reasons, Ms Eicher, with the consent of the government,

                 respectfully request that this Court grant this Motion to Vacate Current Trial Date in the above-

                 captioned proceeding to allow a new date to be decided at the upcoming status date.



                                                           Respectfully Submitted,

                                                           /s/ Peter A. Cooper
                                                           Peter A. Cooper, (#478-082)
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                                                           Washington DC 20001
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PeterCooperLaw




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                                                CERTIFICATE OF SERVICE

                         I HEREBY CERTIFY that a copy of the foregoing Unopposed Motion to Vacate Trial
                 Date is being filed via the Electronic Court Filing System (ECF), causing a copy to be served
                 upon government counsel of record, this 1st day of February, 2023.

                                                             /s/ Peter A. Cooper
                                                             Peter A. Cooper
PeterCooperLaw




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